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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

HUMANE CONSUMER LLC,

Plaintiff, Civil Action No.: 18-civ-05622
(PKC)
Vv.

COB ECOMMERCE EMPIRE LLC d/b/a KEEVA | STIPULATION AND
ORGANICS, CRAWFORD AND O’BRIEN LLC, | [PROPOSED] ORDER
CHARLES CRAWFORD, MICHAEL O’BRIEN
AND AMAZON.COM, INC,,

Defendants.

COB ECOMMERCE EMPIRE LLC d/b/a KEEVA
ORGANICS,

Defendant/Third Party Plaintiff,

Vv.
MICHAEL KIM,

Third Party Defendant.

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COB ECOMMERCE EMPIRE LLC d/b/a KEEVA
ORGANICS, et al.,

Defendant/Counterclaim

Plaintiff,
Vv.
HUMANE CONSUMER LLC,
Plaintiff/Counterclaim
Defendant.

WHEREAS, plaintiff Humane Consumer LLC (“Humane”) and defendants COB
Ecommerce Bmpire LLC d/b/a Keeva Organics, Crawford and O’Brien LLC and Charles
Crawford (collectively, the “COB Defendants”) and third-party defendant Michael Kim (“Kim”
and together with Humane and the COB defendants, hereinafter the “Parties”), have executed a
Settlement Agreement (the “Settlement Agreement’).

WHEREAS, in accordance with the Settlement Agreement, and pursuant to Kokkonen v.
Guardian Life Ins. Co. of Am., 511 U.S. 375 (1994), the Parties request that the Court retain
jurisdiction over this matter and the Parties in order to, if necessary, enforce the Settlement
Agreement and enforce and protect the Parties’ rights, obligations, agreements, representations
and performance thereunder,

NOW, THEREFORE it is hereby STIPULATED AND ORDERED, as follows:

1, The court shall retain jurisdiction over the Settlement Agreement and the Parties
for the purposes set forth below, and the Parties irrevocably consent to the jurisdiction of the
Southern District of New York, and waive all objections thereto, and irrevocably agree that
hereinafter they and their successors and assigns are subject to the jurisdiction of the Southern

District of New York in connection with any claim relating to any alleged breaches of (a) the

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rights, obligations, representations, agreements, and performance of the Parties pursuant to the

Settlement Agreement and (b) all disputes arising under or relating to the Settlement Agreement.

2, This action and all claims, counterclaims and third party claims are hereby

dismissed, with prejudice, and without costs or fees, including attorney’s fees, to any Party.

Dated: New York, New York
March 27% 2019

Akerman LLP

By. Tra S. ‘Saks

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Counterclaim Defendant Humane
Consumer LLC and Third Party
Defendant Michael Kim

SO ORDERED:

Hon. P. Kevin Castel
United States District Judge

Clark Hill, PLC

By: ZZ Ze Richman

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Attorneys for Defendant, Third
Party Plaintiff and Counterclaim
Plaintiff COB Ecommerce Empire
LLC and Defendants Charles |
Crawford and Crawford & O’Brien
LLC

